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 6
     Attorneys for Plaintiff,
 7   LEISA WHITTUM
 8
                          UNITED STATES DISTRICT COURT
 9                             DISTRICT OF NEVADA
10
     LEISA WHITTUM,
11                                               Case No.: 2:16-cv-02496-GMN-NJK
                     Plaintiff,
12                                               NOTICE OF SETTLEMENT
13
           vs.                                   BETWEEN LEISA WHITTUM AND
                                                 CASH 1, LLC
14   CASH 1, LLC,                                                                         N
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15
                        Defendant(s).                                                     T
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           NOTICE IS HERBY GIVEN that the dispute between LEISA WHITTUM
19
     (“Plaintiff”) and Defendant CASH 1, LLC (“CASH 1”) has been resolved on an
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21
     individual basis. The parties anticipate filing a Stipulation for Dismissal of the

22   Action as to the named Plaintiff’s claims against CASH 1, with Prejudice, within
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     60 days. Plaintiff requests that all pending dates and filing requirements as to
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     CASH 1 be vacated and that the Court set a deadline sixty (60) from present for
 1

 2   filing a Dismissal as to CASH 1.
 3
           Dated: November 30, 2016
 4
                                                  /s/ David H. Krieger, Esq.
 5                                                David H. Krieger, Esq.
 6
                                                  Attorneys for Plaintiff
 7                                                LEISA WHITTUM
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